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  8                      UNITED STATES DISTRICT COURT
  9        CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
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11 INTUITIVE IMAGING                         CASE NO. 2:23-cv-10593-DSF-RAO
   INFORMATICS, LLC, a Nevada limited
12 liability company,                        Honorable Dale S. Fischer
13               Plaintiff and Counter-      ORDER GRANTING
                 Defendant,                  DEFENDANTS’ APPLICATION
14                                           FOR LEAVE TO FILE CERATIN
           v.                                DOCUMENTS UNDER SEAL
15 INTUITIVE SURGICAL
   OPERATIONS, INC., a Delaware
16 corporation, INTUITIVE SURGICAL,
   INC., a Delaware corporation,
17 INTUITIVE SURGICAL HOLDINGS,
   LLC, a Delaware limited liability
18 company, INTUITIVE
   FLUORESCENCE IMAGING, LLC, a
19 Delaware limited liability company,
   INTUITIVE SURGICAL SERVICE
20 OPTICS, INC., a Massachusetts
   corporation, and DOES 1-10, inclusive,
21
                 Defendants and Counter-
22               Claimants.
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Case 2:23-cv-10593-DSF-RAO     Document 86    Filed 10/09/24   Page 2 of 2 Page ID
                                    #:1741


  1                                         ORDER
  2        Pursuant to Local Rule 79-5.2.2(a), Defendants Intuitive Surgical Operations,
  3 Inc., Intuitive Surgical, Inc., Intuitive Surgical Service Optics, Inc., Intuitive
  4 Surgical Holdings LLC, and Intuitive Fluorescence Imaging, LLC (collectively,
  5 “Defendants”) have applied to file under seal Defendants’ Motion for Stay and Order
  6 Regarding New Counsel (the “Motion”), the Declaration of Eleanor Lackman filed
  7 in support of the Motion (the “Declaration”), and Exhibits A and B to the
  8 Declaration.
  9        Having considered all relevant arguments, papers, and evidence, the Court
 10 hereby GRANTS the Application to File Under Seal, for good cause shown. The
 11 Motion, Declaration, and Exhibits A and B to the Declaration shall be filed under
 12 seal pursuant to Local Rule 79-5.2.2.
 13 IT IS SO ORDERED.
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 15 DATED: October 9, 2024                       ______________________________
 16                                              Honorable Dale S. Fischer
                                                 United States District Judge
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